
78 So.3d 724 (2012)
Kennedy GRANT, Appellant,
v.
DEUTSCHE BANK NATIONAL TRUST, ETC., Appellee.
No. 5D10-2321.
District Court of Appeal of Florida, Fifth District.
February 3, 2012.
Kennedy Grant, Eatonville, pro se.
Thomas M. Moon, of Van Ness Law Firm, P.A., Deerfield Beach, for Appellee.
PER CURIAM.
We strike paragraphs 8 and 17 from the Final Judgment, but otherwise affirm.
AFFIRMED. Paragraphs 8 and 17 stricken.
EVANDER, COHEN and JACOBUS, JJ., concur.
